






NO.  07-07-0114-CR


					        07-07-0115-CR

					        07-07-0116-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 15, 2007


______________________________



THE STATE OF TEXAS, APPELLANT



V.



JEROME PAUL MARROQUIN, APPELLEE


_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 54,084-E, 54,102-E, 54,103-E; HONORABLE RICHARD DAMBOLD, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ON ABATEMENT AND REMAND


	The State of Texas appeals the sentencing of appellee, Jerome Paul Marroquin.  
We abate and remand these cases to the trial court for further proceedings.

	 On March 22, 2007, appellee pled guilty to evading arrest with a motor vehicle,
injury to a child, and accident involving personal injury or death.  The trial court found that
the evidence substantiated appellee's guilt, accepted the plea, found him guilty, and
sentenced appellee.  The trial court considered the charges of evading arrest with a motor
vehicle and injury to a child as state jail offenses and sentenced appellee to two years
confinement in a state jail facility but suspended the sentence and placed appellee on
community supervision for three years.  The trial court considered the charge of accident
involving personal injury or death a third degree felony and sentenced appellee to eight
years confinement in the Institutional Division of the Texas Department of Criminal Justice
but suspended the sentence and placed appellee on community supervision for eight
years.  The State filed a notice of appeal.  The court reporter filed the reporter's record on
May 21, 2007.  However, the district clerk requested an extension to the time to file the
clerk's record; in the motion requesting extension, the district clerk has notified this court
that appellee has not been appointed counsel on appeal.

	Consequently, we abate this appeal and remand the matter to the trial court for
further proceedings.  Upon remand, the trial court shall determine, if appellee is not
represented by counsel, whether appellee is indigent and is entitled to appointed counsel. 
Should the trial court determine that appellee's circumstances warrant the appointment of
counsel, the trial court is directed to provide this court the name, address, telephone
number, and state bar number of said counsel.  The trial court may hold hearings and enter
orders as the court deems necessary regarding the aforementioned issues and shall cause
its findings and conclusions and any orders entered to be included in a supplemental
clerk's record.  A supplemental reporter's record of any hearing held shall be transcribed. 



Finally, the trial court shall ensure that the entire clerk's record and the supplemental
reporter's record be filed with the Clerk of this Court by Monday, July 16, 2007.	


							Per Curiam



						




Do not publish.  


